             Case 5:15-md-02617-LHK Document 3-3 Filed 06/18/15 Page 1 of 2




 1
 2
 3
 4
 5
 6
 7
 8
 9
                               UNITED STATES DISTRICT COURT
10
                             NORTHERN DISTRICT OF CALIFORNIA
11
                                        SAN JOSE DIVISION
12
13                                                 Case No. 5:15-md-02617-LHK
14   IN RE ANTHEM, INC., CUSTOMER
     DATA SECURITY BREACH LITIGATION [PROPOSED] ORDER GRANTING
15                                   ADMINISTRATIVEMOTION TO
                                     RELATE CASES
16
17
18
19
20
21
22
23
24
25
26
27
28


     [PROPOSED] ORDER GRANTING ADMIN MOTION TO RELATE CASES
     CASE NO. 5:15-md-02617-LHK
              Case 5:15-md-02617-LHK Document 3-3 Filed 06/18/15 Page 2 of 2




 1          On June 17, 2015, Plaintiff in Krissman v. Anthem, Inc. et al., Case No. 5:15-cv-02741
 2   (“Krissman”), filed an Administrative Motion to Consider Whether Cases Should Be Related
 3   Pursuant to Local Rule 3-12. The Court, having considered the papers and pleadings on file, and
 4   good cause appearing, HEREBY GRANTS the motion.
 5          IT IS ORDERED that Krissman is related to the cases in In Re Anthem, Inc., Customer
 6
     Data Security Breach Litig., Case No. 5:15-md-02617-LHK.
 7
            These actions concern substantially the same parties, property, transactions or events, and
 8
     it appears likely that there will be an unduly burdensome duplication of labor or expense or
 9
     conflicting results if the cases are conducted before different judges.
10
            Krissman shall be reassigned to the undersigned judge pursuant to local Rule 3-12(f).
11
12   IT IS SO ORDERED.

13
14
15   DATED: ________________                       ____________________________________
                                                   HONORABLE LUCY H. KOH
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     -1-
     [PROPOSED] ORDER GRANTING ADMIN MOTION TO RELATE CASES
     CASE NO. 5:15-md-02617-LHK
